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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

WB MUSIC CORP., WARNER-TAMERLANE * CIVIL ACTION

PUBLISHING CoRP.,CoTlLLIoN MUSIC,INC., 0 7_
NOONTIME TUNEs AND W.B.M. MUslc . NO. "75 6 0
CoRP., - _

Plaintiffs, *

 

CASH MONEY RECORDS, INC., RONALD * MAGIS'I`RATE_
WILLIAMS AND BRYAN WILLIAMS,

Defendants. ,,

COMPLAINT
NOW INTO COURT, through undersigned counsel, come plaintiffs, WB Music Col'p.,
Wamer-Tamberlane Publishing Corp., Cotillion Music, Inc., Noontime Tunes and W.B.M. Music
Corp. (“Plaintiffs”), who for complaint against defendants, Cash Money Reoords, Inc., Ronald
Williams and Bryan Williams (“Defendants”}, represent as follows:
PARTIES

1.

Made plaintiffs herein are:

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,_____ Dec. No\.___--

 

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WB Music Corp., a California corporation With its principal place of business in
Califomia.

Warner-Talnerlane Publishing Corp. , a Califomia corporation With its principal place
of business in California.

Cotillion Music, Inc., a Delaware corporation with its principal place of business in
California.

Noontirne Tunes, a Georgia corporation with its principal place of business in
Georgia.

W.B.M. Music Group, a Delaware corporation with its principal place of business in

Califomia.

Made defendants herein are:

Cash Money Records, Inc., is a Louisiana corporation with its principal place of
business and doing business in this district but is not in good standing as it has failed
to file an annual report since August 12, 2005.

Ronald Williams is a person of the full age of majority and a citizen and resident of
the State of Louisiana.

Brya.n Williarns is a person of the iilll age of majority and a citizen and resident of

the State of Louisiana.

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JURISDICTION
3.

This Court has subject matter jurisdiction over this action pursuant to 28 USC § 1331 as the
suit arises under the laws of the United States, particularly, United States copyright law, and pursuant
to 28 USC §1332 as there is complete diversity of citizenship between the plaintiff and each of the
defendants and the amount in controversy exceeds $'?5,000.00 exclusive of interest and costs.

X.EM
4.

Venue is appropriate in this district as substantial portion of the activities have taken place

in and occurred in this district and defendants are citizens and residents of this district
FACTUAL ALLEGATIONS
5.

Plainst own and)'or administer copyrights of various songs and musical compositions Which
have been used, sampled, and/or published by Defendants both with and without licensing
agreements with Plaintiffs.

The copyrights owned in whole or in part by Plaintiffs for which Defendants have a
mechanical license include (collectively the “Licensed Works”):

Album: The Mind of Mannie Fresh

Songs: l. "Shake That Ass"

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Alblun: Birdman
Songs: l. "cher Had Nothin"
2. "How It Be“
6.

For numerous other works, Defendants and Plaintiffs have no formal agreement and
Defendants have not served notice of their intent to obtain a compulsory license pursuant to l 7 USC
l 15. The copyrights owned in Whole or in part by Plaintiffs for which Defendants have neither given
notice of their intention to obtain a compulsory license nor negotiated a mechanical license include
(collectively the “Infn`nged Works”):

Album: Tha Carter II

Songs: 1. Get Over (Sarnple Share)
2. Get Over
3. Tha Mobb
4. Fly In
5. Money on My Mind
6. Fireman
?'. Mo Fire
8. Best Rapper Alive

9. Locl< and Load

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10. Oh No
ll. Grown Man
12. Hit Em Up
13. Carter II
14. Huslter Musik
15. Receipr`
16. Shooter
l?. Weezy Baby
18. I'm a Dboy
19. Feel Me
20. F ly
Album: Tha Carter II: Chopped & Screwed
Songs: 1. Get Over (Sample Share)
2. Get 0ver
3. Tha Mobb
4. Fly In
5. Money on My Mind
6. Fireman

'r'. Mo Fire

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Album:

Album:

8. Best Rapper Alive
9. Lock and Load
lO. Oh No

ll. Grown Man

12. Hit Em Up

13. Carter II

14. Huslter Musik
15. Receipt

16. Shooter

17. Weezy Baby

13. I'm a Dboy
19. Feel Me
20. Fly
500 Degreez
Song: l. Way of Life (Sample)

Big Money Heavyweight: Screwed & Chopped
Songs: 1. I‘m a Dog/I'm Sorry

2. Down South

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3. A Beautiful Life

Album: Bi g Money Heavyweight
Songs: l. I'm a Dog/I'm Sorry
2. Down South
Album: Hood Rich
Songs: l. Sunny Day
2. Da Man
3. Get High

4. I'm Comin'

Alburn: Perfect Timing
Songs: l.Ride Tonight
2.Hot S**T
Album: Birdman
Songs: 1. Fly In Any Weather

3. On the Rocks

5. Heads Up

6. Hustlas, Pirnps & Thugs
'?'. Do That... (Timing 5:01)

8. lee Cold

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Album: Like Father, Like Son

Songs:

l. Over Here Hustlin'

2. Stuntin' Like My Daddy
3. lSt Key

4. Like Father, Like Son

5. You Ain't Know

6. Farnily Rules (Skit)

'?'. No What I'm Doin'

8. Don‘t Die

9. Ain't Won'ied Bout S***T
10. Leather So Soft

ll. Army Gunz

12. Protector (Skit)

13. Get that Money

14. No More

15. High

16. Kali Dro

l?. All About That

lS. Respect (Skit)

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19. Shooter
Album: Do That...
Song: l. Do That...
7.

On June 26, 2007, Defendants acknowledged that their use of the above works created a debt
in favor of Plaintiffs and they further acknowledged that debt by making one payment of
$400,000.00.

BREACH OF CONTRACT
8.

Pursuant to various agreements, Defendants have committed to pay mechanical licensing fees
to Plaintiffs in connection with Defendants’ use of the “Licensed Works”. Among other things, the
agreements require Defendants to account for their use of the works and to pay royalties to the
Plaintifl`s.

9.

After notice was given to Defendants, they failed to make'the requisite payments as required

by the various agreements for the “Licensed Works” and have further failed to provide an

appropriate accounting demonstrating precisely the amount owned.

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l 0.

Defendants have provided no explanation for their refusal to honor the agreements and
therefore, based on information and belief, Defendants’ breach and misconduct is in bad faith. As
a result of Defendants’ bad faith breach of contract, Plaintiffs are further entitled to consequential
damages and attomeys fees.

COPYRIGHT INFRINGEMENT
ll.

At the time of their use of the “Infringed Works,” Defendants knew that Plaintiffs owned or
had an interest in the copyrights to each of the works. Defendants‘ willful publication and use of the
“Infringed Works” without a license infringes on the Plaintiffs’ exclusive use of its copyrighted
work. Defendants are not entitled to a compulsory license over any of the “Infn`nged Works” as they
have never served notice of their intent to use the works.

l 2.

Plaintiffs seek lost profits for Defendants' use of these infringed works. Although the exact
gross sales figures are unknown due to Defendants' lack of accounting, the number of units sold
exceeds 5,000,000. 13.

Plaintiffs are entitled to the recovery of their full costs and attomey‘s fees based on the

Defendants’ willful and intentional infringement of the Plaintiffs’ copyrighted works.

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DAMAGES AND RELIEF REQUESTED

14.

Despite requests from Plaintiffs for a full and complete aceounting, full payment has not been
made and no accounting has been supplied.

15.

As a result of Defendants’ failure provide a complete and proper accounting for the
“Licensed Works” and their failure to pay royalties for those works, Defendants have breached their
contractual commitments to Plaintiffs. Defendants are indebted unto Plaintiffs for their breach of
contract and bad faith breach of contract.

16.

Plaintit`fs seek specific performance of the contracts in the form cfa proper accounting for
the songs and payment of appropriate royalties Defendants’ bad faith also necessitates the awarding
of costs, attorney’s fees and consequential damages in favor of Plaintiffs.

l 'l'.

As a result ofDefendants’ use of the “Infringed Works,” Defendants have infringed upon the

plaintiff s exclusive copyright Plaintiffs are entitled to lost profits in the form of gross sales of units

sold attributable to the “Infringed Works.”

ll

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1 8.

At all times, Defendants knew that Plaintiffs were the owners of the “Infiinged Works,” but
they willfully published and collected profits on these works without making appropriate payments
to Plaintiffs. As a result of Defendants’s willful infringement, Plaintiffs seeks costs and attorney’s
fees.

19.

As the Defendants have shown continual disregard for the Plaintiffs’ copyrights and because
of the Defendants’ continued willful breaches, Plaintiffs request injunctive relief in the form of an
order enjoining Defendants from exploiting the “Licensed Works” and the “Infringed Works.”

MEIL
20.

On information and belief, Cash Money Records, Inc. has not been properly operated as a

corporation To the eontrary, necessary corporate formalities have been completely ignored.
21.
Consequently, its individual owners, Ronald Williams and Bryan Williarns are not entitled

to be insulated from personal liability.

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22.

As a result thereof, Plaintiffs are entitled to pierce the corporate veil so as to hold defendants,
Ronald Williams and Bryan Williarns, individually responsible for the obligations and debts ofCash
Money Reccrds, Inc.

22.

Based upon Plaintiffs’ entitlement to penetrate the corporate veil, each of the individuals,
chald Williams and Bryan Williams, is individually and personally responsible for the full amounts
owed to the Plaintiffs.

WHEREFORE, Plaintiffs, WB Music Corp., Warner-Tambcrlane Publishing Corp.,
Cotillion Music, lnc., Noontime Tunes and W.B.M. Music Corp., pray that this Complaint be filed
and served and that after all due proceedings are had, there be judgment herein in their favor
enjoining the Defendants from further exploiting the “Licensed and Infringed Works,” ordering
Defendants to provide an accounting and further awarding to Plaintiffs all sums due to Plaintiffs as
a result ofDefendants’ copyright infringement, breach of contract and failure to pay royalties where
due and owing Plaintiffs also pray for all legal interest due from the date on which each such
payinth became due or as otherwise appropriate, plus all costs of these proceedings and, attomey’s
fees. Plaintiffs iin'ther pray for all such remedies which are available in law and equity and which

are due under the premises.

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PLEASE SERVE:

Cash Money Records, Inc.

Through its registered agent:

Ronald Williams

2800 Veterans Memorial Blvd., Suite 216
Metairie, LA 70002

Ronald Williams
100 James Drive, No. 130
St. Rose, LA 7008’?

Bryan Williams
100 Janres Drive, No. 130
St. Rose, LA 70087

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Respectfully submitted,

LOWE, STEIN, HOFFMAN, ALLWEISS
& HAUVER, L.L.P.

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